Case 1:20-cv-03611-JGK Document175 Filed 12/23/21 Page1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

1199SEIU UNITED HEATHCARE WORKERS 20-cv-3611 (JGK)
EAST,
ORDER

 

Petitioner,
- against -
PSC COMMUNITY SERVICES, ET AL.,

Respondents.

 

JOHN G. KOELTL, District Judge:

As discussed at the conference held today, Maktumma
Teshabaeva and Jin Hua Deng’s opposition to the movants’ motion
for a preliminary and/or permanent injunction is due by January
14, 2022, The movants’ reply is due by January 28, 2022.

SO ORDERED.

Dated: New York, New York
December 23, 2021

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a Sohn G. Koeltl
United States District Judge

 

 
